EXHIBIT 1
DocuSign Envelope ID: 4519C65B-5F1B-4C47-8B4C-BB8B27D68E84


                                                    OPT-IN CONSENT FORM
                                    Robenson Jean-Pierre v. J&L Cable TV Services, Inc.
                                     United States District Court, District of Massachusetts

                                                     Complete And Submit To:

                                                     Carolyn Hunt Cottrell, Esq.
                                                    SCHNEIDER WALLACE
                                                    COTTRELL KONECKY
                                                        WOTKYNS LLP
                                                  2000 Powell Street, Suite 1400
                                                   Emeryville, California 94608

                                                                     OR

                                                   Sarah R. Schalman-Bergen
                                                BERGER & MONTAGUE, P.C.
                                                       1622 Locust Street
                                                Philadelphia, Pennsylvania 19103

              Name:                                                   Date of Birth:
             #"&#""%%
                                                    (Please Print)

              Address:                                                Phone No. 1:
                                                                      Phone No. 2:
                                                                      E-mail Address:


                                       CONSENT TO JOIN COLLECTIVE ACTION
                              Pursuant to the Fair Labor Standards Act, 29 U.S.C. §§ 201, et seq.

      1.    I consent and agree to pursue my claims relating to and arising from Defendant (J&L Cable TV Services, Inc.)
            alleged violations of the Fair Labor Standards Act, 29 U.S.C. §§ 201, et seq. in connection with the above-
            referenced litigation.

      2.    I have worked as a/an (title) ""                               for Defendant in (city, state) &'$ !
                                                    from approximately                                         
                                                                                  on or about (date) _____________            to
                                               
            approximately on or about (date) ______________.

      3.    I understand that this litigation has been filed as a proposed collective action under the Fair Labor Standards Act
            of 1938, as amended, 29 U.S.C. §§ 201, et seq. I hereby consent, agree, and opt-in to become a Plaintiff herein
            and be bound by any judgment of the Court or any settlement of this action.

      4.    I specifically authorize my attorneys, Schneider Wallace Cottrell Konecky Wotkyns and Berger & Montague to
            prosecute this lawsuit on my behalf and to negotiate a settlement of any and all claims I have against the
            Defendant in this litigation.



                
                                              (Date Signed)                                              (Signature)

                                                          **IMPORTANT NOTE**
            Statute of Limitations concerns mandate that you return this form as soon as possible to preserve your rights.
EXHIBIT 2
DocuSign Envelope ID: E61D0409-8FB0-42D5-8BD9-EA7D05DCDDB7


                                                    OPT-IN CONSENT FORM
                                   Robenson Jean-Pierre v. J&L Cable TV Services, Inc.
                                    United States District Court, District of Massachusetts

                                                     Complete And Submit To:

                                                     Carolyn Hunt Cottrell, Esq.
                                                    SCHNEIDER WALLACE
                                                    COTTRELL KONECKY
                                                        WOTKYNS LLP
                                                  2000 Powell Street, Suite 1400
                                                   Emeryville, California 94608

                                                                     OR

                                                  Sarah R. Schalman-Bergen
                                               BERGER & MONTAGUE, P.C.
                                                      1622 Locust Street
                                               Philadelphia, Pennsylvania 19103

             Name:                                                    Date of Birth:
             Jean Metelus
                                                    (Please Print)

             Address:                                                 Phone No. 1:
                                                                      Phone No. 2:
                                                                      E-mail Address


                                       CONSENT TO JOIN COLLECTIVE ACTION
                              Pursuant to the Fair Labor Standards Act, 29 U.S.C. §§ 201, et seq.

      1.    I consent and agree to pursue my claims relating to and arising from Defendant (J&L Cable TV Services, Inc.)
            alleged violations of the Fair Labor Standards Act, 29 U.S.C. §§ 201, et seq. in connection with the above-
            referenced litigation.

      2.    I have worked as a/an (title) Install Technician           for Defendant in (city, state) Boca Raton FL,BOSTON
                                                                                                    9/27/2016
                                                    from approximately on or about (date) _____________            to
                                              1/24/2018
            approximately on or about (date) ______________.

      3.    I understand that this litigation has been filed as a proposed collective action under the Fair Labor Standards Act
            of 1938, as amended, 29 U.S.C. §§ 201, et seq. I hereby consent, agree, and opt-in to become a Plaintiff herein
            and be bound by any judgment of the Court or any settlement of this action.

      4.    I specifically authorize my attorneys, Schneider Wallace Cottrell Konecky Wotkyns and Berger & Montague to
            prosecute this lawsuit on my behalf and to negotiate a settlement of any and all claims I have against the
            Defendant in this litigation.



              4/21/2018
                                              (Date Signed)                                              (Signature)

                                                          **IMPORTANT NOTE**
            Statute of Limitations concerns mandate that you return this form as soon as possible to preserve your rights.
EXHIBIT 3
DocuSign Envelope ID: C93F1332-DF2D-4FA7-A114-8CC0AD3BF4F8


                                                    OPT-IN CONSENT FORM
                                   Robenson Jean-Pierre v. J&L Cable TV Services, Inc.
                                     United States District Court, District of Massachusetts

                                                     Complete And Submit To:

                                                     Carolyn Hunt Cottrell, Esq.
                                                    SCHNEIDER WALLACE
                                                    COTTRELL KONECKY
                                                        WOTKYNS LLP
                                                  2000 Powell Street, Suite 1400
                                                   Emeryville, California 94608

                                                                     OR

                                                  Sarah R. Schalman-Bergen
                                               BERGER & MONTAGUE, P.C.
                                                      1622 Locust Street
                                               Philadelphia, Pennsylvania 19103

              Name:                                                   Date of Birth:
             Dario Camille
                                                    (Please Print)

              Address:                                                Phone No. 1:
                                                                      Phone No. 2:
                                                                      E-mail Address:


                                       CONSENT TO JOIN COLLECTIVE ACTION
                              Pursuant to the Fair Labor Standards Act, 29 U.S.C. §§ 201, et seq.

      1.    I consent and agree to pursue my claims relating to and arising from Defendant (J&L Cable TV Services, Inc.)
            alleged violations of the Fair Labor Standards Act, 29 U.S.C. §§ 201, et seq. in connection with the above-
            referenced litigation.

      2.    I have worked as a/an (title) Technician                   for Defendant in (city, state) West Palm Beach fl
                                                                                                    10/16
                                                    from approximately on or about (date) _____________            to
                                              08/17
            approximately on or about (date) ______________.

      3.    I understand that this litigation has been filed as a proposed collective action under the Fair Labor Standards Act
            of 1938, as amended, 29 U.S.C. §§ 201, et seq. I hereby consent, agree, and opt-in to become a Plaintiff herein
            and be bound by any judgment of the Court or any settlement of this action.

      4.    I specifically authorize my attorneys, Schneider Wallace Cottrell Konecky Wotkyns and Berger & Montague to
            prosecute this lawsuit on my behalf and to negotiate a settlement of any and all claims I have against the
            Defendant in this litigation.



               7/25/2018
                                              (Date Signed)                                              (Signature)

                                                          **IMPORTANT NOTE**
            Statute of Limitations concerns mandate that you return this form as soon as possible to preserve your rights.
EXHIBIT 4
DocuSign Envelope ID: C5F1BD50-6FD8-40F0-BA24-6D39174DEFBB


                                                    OPT-IN CONSENT FORM
                                   Robenson Jean-Pierre v. J&L Cable TV Services, Inc.
                                     United States District Court, District of Massachusetts

                                                     Complete And Submit To:

                                                     Carolyn Hunt Cottrell, Esq.
                                                    SCHNEIDER WALLACE
                                                    COTTRELL KONECKY
                                                        WOTKYNS LLP
                                                  2000 Powell Street, Suite 1400
                                                   Emeryville, California 94608

                                                                     OR

                                                  Sarah R. Schalman-Bergen
                                               BERGER & MONTAGUE, P.C.
                                                      1622 Locust Street
                                               Philadelphia, Pennsylvania 19103

              Name:                                                   Date of Birth:
             Odney Civil
                                                    (Please Print)

              Address:                                                Phone No. 1:
                                                                      Phone No. 2:
                                                                      E-mail Address


                                       CONSENT TO JOIN COLLECTIVE ACTION
                              Pursuant to the Fair Labor Standards Act, 29 U.S.C. §§ 201, et seq.

      1.    I consent and agree to pursue my claims relating to and arising from Defendant (J&L Cable TV Services, Inc.)
            alleged violations of the Fair Labor Standards Act, 29 U.S.C. §§ 201, et seq. in connection with the above-
            referenced litigation.

      2.    I have worked as a/an (title) Technician                   for Defendant in (city, state) Boston, MA
                                                                                                    1/5/2016
                                                    from approximately on or about (date) _____________                      to
                                              2/15/2016
            approximately on or about (date) ______________.

      3.    I understand that this litigation has been filed as a proposed collective action under the Fair Labor Standards Act
            of 1938, as amended, 29 U.S.C. §§ 201, et seq. I hereby consent, agree, and opt-in to become a Plaintiff herein
            and be bound by any judgment of the Court or any settlement of this action.

      4.    I specifically authorize my attorneys, Schneider Wallace Cottrell Konecky Wotkyns and Berger & Montague to
            prosecute this lawsuit on my behalf and to negotiate a settlement of any and all claims I have against the
            Defendant in this litigation.



               6/7/2018
                                              (Date Signed)                                              (Signature)

                                                          **IMPORTANT NOTE**
            Statute of Limitations concerns mandate that you return this form as soon as possible to preserve your rights.
EXHIBIT 5
DocuSign Envelope ID: 4FD3185D-A119-4FAE-A22F-C236D3B34A41


                                                    OPT-IN CONSENT FORM
                                    Robenson Jean-Pierre v. J&L Cable TV Services, Inc.
                                     United States District Court, District of Massachusetts

                                                     Complete And Submit To:

                                                     Carolyn Hunt Cottrell, Esq.
                                                    SCHNEIDER WALLACE
                                                    COTTRELL KONECKY
                                                        WOTKYNS LLP
                                                  2000 Powell Street, Suite 1400
                                                   Emeryville, California 94608

                                                                     OR

                                                   Sarah R. Schalman-Bergen
                                                BERGER & MONTAGUE, P.C.
                                                       1622 Locust Street
                                                Philadelphia, Pennsylvania 19103

              Name:                                                   Date of Birth:
             Sterling Francois
                                                    (Please Print)

              Address:                                                Phone No. 1:
                                                                      Phone No. 2:
                                                                      E-mail Address


                                       CONSENT TO JOIN COLLECTIVE ACTION
                              Pursuant to the Fair Labor Standards Act, 29 U.S.C. §§ 201, et seq.

      1.    I consent and agree to pursue my claims relating to and arising from Defendant (J&L Cable TV Services, Inc.)
            alleged violations of the Fair Labor Standards Act, 29 U.S.C. §§ 201, et seq. in connection with the above-
            referenced litigation.

      2.    I have worked as a/an (title) Teche install                for Defendant in (city, state) Boca
                                                                                                    11/12/2017
                                                    from approximately on or about (date) _____________                      to
                                              02/23/2017
            approximately on or about (date) ______________.

      3.    I understand that this litigation has been filed as a proposed collective action under the Fair Labor Standards Act
            of 1938, as amended, 29 U.S.C. §§ 201, et seq. I hereby consent, agree, and opt-in to become a Plaintiff herein
            and be bound by any judgment of the Court or any settlement of this action.

      4.    I specifically authorize my attorneys, Schneider Wallace Cottrell Konecky Wotkyns and Berger & Montague to
            prosecute this lawsuit on my behalf and to negotiate a settlement of any and all claims I have against the
            Defendant in this litigation.



               6/27/2018
                                              (Date Signed)                                              (Signature)

                                                          **IMPORTANT NOTE**
            Statute of Limitations concerns mandate that you return this form as soon as possible to preserve your rights.
EXHIBIT 6
DocuSign Envelope ID: 236DA47C-17EB-44A4-8DEA-696C2DA358DE


                                                    OPT-IN CONSENT FORM
                                   Robenson Jean-Pierre v. J&L Cable TV Services, Inc.
                                     United States District Court, District of Massachusetts

                                                     Complete And Submit To:

                                                     Carolyn Hunt Cottrell, Esq.
                                                    SCHNEIDER WALLACE
                                                    COTTRELL KONECKY
                                                        WOTKYNS LLP
                                                  2000 Powell Street, Suite 1400
                                                   Emeryville, California 94608

                                                                     OR

                                                  Sarah R. Schalman-Bergen
                                               BERGER & MONTAGUE, P.C.
                                                      1622 Locust Street
                                               Philadelphia, Pennsylvania 19103

             Name:                                                    Date of Birth:
             Frantz Joseph
                                                    (Please Print)

             Address:                                                 Phone No. 1:
                                                                      Phone No. 2:
                                                                      E-mail Address


                                       CONSENT TO JOIN COLLECTIVE ACTION
                              Pursuant to the Fair Labor Standards Act, 29 U.S.C. §§ 201, et seq.

      1.    I consent and agree to pursue my claims relating to and arising from Defendant (J&L Cable TV Services, Inc.)
            alleged violations of the Fair Labor Standards Act, 29 U.S.C. §§ 201, et seq. in connection with the above-
            referenced litigation.

      2.    I have worked as a/an (title) Cable Technician             for Defendant in (city, state) Boca Raton,Fl
                                                                                                    11/2016
                                                    from approximately on or about (date) _____________             to
                                              05/2017
            approximately on or about (date) ______________.

      3.    I understand that this litigation has been filed as a proposed collective action under the Fair Labor Standards Act
            of 1938, as amended, 29 U.S.C. §§ 201, et seq. I hereby consent, agree, and opt-in to become a Plaintiff herein
            and be bound by any judgment of the Court or any settlement of this action.

      4.    I specifically authorize my attorneys, Schneider Wallace Cottrell Konecky Wotkyns and Berger & Montague to
            prosecute this lawsuit on my behalf and to negotiate a settlement of any and all claims I have against the
            Defendant in this litigation.



              6/4/2018
                                              (Date Signed)                                              (Signature)

                                                          **IMPORTANT NOTE**
            Statute of Limitations concerns mandate that you return this form as soon as possible to preserve your rights.
EXHIBIT 7
DocuSign Envelope ID: FB666A86-AF4C-4F5B-B6F8-DEE10FCBE2AE


                                                    OPT-IN CONSENT FORM
                                   Robenson Jean-Pierre v. J&L Cable TV Services, Inc.
                                    United States District Court, District of Massachusetts

                                                     Complete And Submit To:

                                                     Carolyn Hunt Cottrell, Esq.
                                                    SCHNEIDER WALLACE
                                                    COTTRELL KONECKY
                                                        WOTKYNS LLP
                                                  2000 Powell Street, Suite 1400
                                                   Emeryville, California 94608

                                                                     OR

                                                  Sarah R. Schalman-Bergen
                                               BERGER & MONTAGUE, P.C.
                                                      1622 Locust Street
                                               Philadelphia, Pennsylvania 19103

             Name:                                                    Date of Birth:
             Moise Leveille
                                                    (Please Print)

             Address:                                                 Phone No. 1:
                                                                      Phone No. 2:
                                                                      E-mail Address:


                                       CONSENT TO JOIN COLLECTIVE ACTION
                              Pursuant to the Fair Labor Standards Act, 29 U.S.C. §§ 201, et seq.

      1.    I consent and agree to pursue my claims relating to and arising from Defendant (J&L Cable TV Services, Inc.)
            alleged violations of the Fair Labor Standards Act, 29 U.S.C. §§ 201, et seq. in connection with the above-
            referenced litigation.

      2.    I have worked as a/an (title) Cable Technician             for Defendant in (city, state) Boynton Beach
                                                                                                    November 2016 to
                                                    from approximately on or about (date) _____________
                                              December 2017
            approximately on or about (date) ______________.

      3.    I understand that this litigation has been filed as a proposed collective action under the Fair Labor Standards Act
            of 1938, as amended, 29 U.S.C. §§ 201, et seq. I hereby consent, agree, and opt-in to become a Plaintiff herein
            and be bound by any judgment of the Court or any settlement of this action.

      4.    I specifically authorize my attorneys, Schneider Wallace Cottrell Konecky Wotkyns and Berger & Montague to
            prosecute this lawsuit on my behalf and to negotiate a settlement of any and all claims I have against the
            Defendant in this litigation.



              6/7/2018
                                              (Date Signed)                                              (Signature)

                                                          **IMPORTANT NOTE**
            Statute of Limitations concerns mandate that you return this form as soon as possible to preserve your rights.
EXHIBIT 8
DocuSign Envelope ID: 972E2404-8BA9-43AB-A679-654E5A484A18


                                                     OPT-IN CONSENT FORM
                                    Robenson Jean-Pierre v. J&L Cable TV Services, Inc.
                                      United States District Court, District of Massachusetts

                                                      Complete And Submit To:

                                                      Carolyn Hunt Cottrell, Esq.
                                                     SCHNEIDER WALLACE
                                                     COTTRELL KONECKY
                                                         WOTKYNS LLP
                                                   2000 Powell Street, Suite 1400
                                                    Emeryville, California 94608

                                                                      OR

                                                   Sarah R. Schalman-Bergen
                                                BERGER & MONTAGUE, P.C.
                                                       1622 Locust Street
                                                Philadelphia, Pennsylvania 19103

              Name:                                                    Date of Birth:
              Lovens Ovilmar
                                                     (Please Print)

              Address:                                                 Phone No. 1:
                                                                       Phone No. 2:
                                                                       E-mail Address:


                                        CONSENT TO JOIN COLLECTIVE ACTION
                               Pursuant to the Fair Labor Standards Act, 29 U.S.C. §§ 201, et seq.

      1.    I consent and agree to pursue my claims relating to and arising from Defendant (J&L Cable TV Services, Inc.)
            alleged violations of the Fair Labor Standards Act, 29 U.S.C. §§ 201, et seq. in connection with the above-
            referenced litigation.

      2.    I have worked as a/an (title) Technician                   for Defendant in (city, state) Boca Raton, Florida
                                                                                                    01/25/2017
                                                    from approximately on or about (date) _____________            to
                                              03/23/2017
            approximately on or about (date) ______________.

      3.    I understand that this litigation has been filed as a proposed collective action under the Fair Labor Standards Act
            of 1938, as amended, 29 U.S.C. §§ 201, et seq. I hereby consent, agree, and opt-in to become a Plaintiff herein
            and be bound by any judgment of the Court or any settlement of this action.

      4.    I specifically authorize my attorneys, Schneider Wallace Cottrell Konecky Wotkyns and Berger & Montague to
            prosecute this lawsuit on my behalf and to negotiate a settlement of any and all claims I have against the
            Defendant in this litigation.



               6/8/2018
                                               (Date Signed)                                              (Signature)

                                                           **IMPORTANT NOTE**
             Statute of Limitations concerns mandate that you return this form as soon as possible to preserve your rights.
EXHIBIT 9
DocuSign Envelope ID: 07A04041-1BC3-477E-8BA8-254F28EFBB3F


                                                     OPT-IN CONSENT FORM
                                    Robenson Jean-Pierre v. J&L Cable TV Services, Inc.
                                     United States District Court, District of Massachusetts

                                                      Complete And Submit To:

                                                      Carolyn Hunt Cottrell, Esq.
                                                     SCHNEIDER WALLACE
                                                     COTTRELL KONECKY
                                                         WOTKYNS LLP
                                                   2000 Powell Street, Suite 1400
                                                    Emeryville, California 94608

                                                                      OR

                                                   Sarah R. Schalman-Bergen
                                                BERGER & MONTAGUE, P.C.
                                                       1622 Locust Street
                                                Philadelphia, Pennsylvania 19103

              Name:                                                    Date of Birth:
              Jacques Phirmerlus
                                                     (Please Print)

              Address:                                                 Phone No. 1:
                                                                       Phone No. 2:
                                                                       E-mail Address:


                                        CONSENT TO JOIN COLLECTIVE ACTION
                               Pursuant to the Fair Labor Standards Act, 29 U.S.C. §§ 201, et seq.

      1.    I consent and agree to pursue my claims relating to and arising from Defendant (J&L Cable TV Services, Inc.)
            alleged violations of the Fair Labor Standards Act, 29 U.S.C. §§ 201, et seq. in connection with the above-
            referenced litigation.

      2.    I have worked as a/an (title) Technician                   for Defendant in (city, state) Boca Raton fl
                                                                                                    12/2016
                                                    from approximately on or about (date) _____________             to
                                              08/2017
            approximately on or about (date) ______________.

      3.    I understand that this litigation has been filed as a proposed collective action under the Fair Labor Standards Act
            of 1938, as amended, 29 U.S.C. §§ 201, et seq. I hereby consent, agree, and opt-in to become a Plaintiff herein
            and be bound by any judgment of the Court or any settlement of this action.

      4.    I specifically authorize my attorneys, Schneider Wallace Cottrell Konecky Wotkyns and Berger & Montague to
            prosecute this lawsuit on my behalf and to negotiate a settlement of any and all claims I have against the
            Defendant in this litigation.



               5/21/2018
                                               (Date Signed)                                              (Signature)

                                                           **IMPORTANT NOTE**
             Statute of Limitations concerns mandate that you return this form as soon as possible to preserve your rights.
EXHIBIT 10
DocuSign Envelope ID: E4F64A01-FE69-453F-BCF5-65ACAE9A05B2


                                                    OPT-IN CONSENT FORM
                                   Robenson Jean-Pierre v. J&L Cable TV Services, Inc.
                                     United States District Court, District of Massachusetts

                                                     Complete And Submit To:

                                                     Carolyn Hunt Cottrell, Esq.
                                                    SCHNEIDER WALLACE
                                                    COTTRELL KONECKY
                                                        WOTKYNS LLP
                                                  2000 Powell Street, Suite 1400
                                                   Emeryville, California 94608

                                                                     OR

                                                   Sarah R. Schalman-Bergen
                                                BERGER & MONTAGUE, P.C.
                                                       1622 Locust Street
                                                Philadelphia, Pennsylvania 19103

              Name:                                                   Date of Birth:
             Lovingson Suplice
                                                    (Please Print)

              Address:                                                Phone No. 1:
                                                                      Phone No. 2:
                                                                      E-mail Address:


                                       CONSENT TO JOIN COLLECTIVE ACTION
                              Pursuant to the Fair Labor Standards Act, 29 U.S.C. §§ 201, et seq.

      1.    I consent and agree to pursue my claims relating to and arising from Defendant (J&L Cable TV Services, Inc.)
            alleged violations of the Fair Labor Standards Act, 29 U.S.C. §§ 201, et seq. in connection with the above-
            referenced litigation.

      2.    I have worked as a/an (title) Technician                   for Defendant in (city, state) Boca Raton Florida
                                                                                                    09/13/2016
                                                    from approximately on or about (date) _____________            to
                                              09/15/2017
            approximately on or about (date) ______________.

      3.    I understand that this litigation has been filed as a proposed collective action under the Fair Labor Standards Act
            of 1938, as amended, 29 U.S.C. §§ 201, et seq. I hereby consent, agree, and opt-in to become a Plaintiff herein
            and be bound by any judgment of the Court or any settlement of this action.

      4.    I specifically authorize my attorneys, Schneider Wallace Cottrell Konecky Wotkyns and Berger & Montague to
            prosecute this lawsuit on my behalf and to negotiate a settlement of any and all claims I have against the
            Defendant in this litigation.



               6/7/2018
                                              (Date Signed)                                              (Signature)

                                                          **IMPORTANT NOTE**
            Statute of Limitations concerns mandate that you return this form as soon as possible to preserve your rights.
EXHIBIT 11
DocuSign Envelope ID: BABDFEC1-DA9F-4D0A-B0FC-EB6B92897A2B


                                                    OPT-IN CONSENT FORM
                                   Robenson Jean-Pierre v. J&L Cable TV Services, Inc.
                                    United States District Court, District of Massachusetts

                                                     Complete And Submit To:

                                                     Carolyn Hunt Cottrell, Esq.
                                                    SCHNEIDER WALLACE
                                                    COTTRELL KONECKY
                                                        WOTKYNS LLP
                                                  2000 Powell Street, Suite 1400
                                                   Emeryville, California 94608

                                                                     OR

                                                  Sarah R. Schalman-Bergen
                                               BERGER & MONTAGUE, P.C.
                                                      1622 Locust Street
                                               Philadelphia, Pennsylvania 19103

             Name:                                                    Date of Birth:
              "
                                                    (Please Print)

             Address:                                                 Phone No. 1:
                                                                      Phone No. 2:
                                                                      E-mail Address:


                                       CONSENT TO JOIN COLLECTIVE ACTION
                              Pursuant to the Fair Labor Standards Act, 29 U.S.C. §§ 201, et seq.

      1.    I consent and agree to pursue my claims relating to and arising from Defendant (J&L Cable TV Services, Inc.)
            alleged violations of the Fair Labor Standards Act, 29 U.S.C. §§ 201, et seq. in connection with the above-
            referenced litigation.

      2.    I have worked as a/an (title)                   for Defendant in (city, state) 
                                                                                                    
                                                    from approximately on or about (date) _____________             to
                                              
            approximately on or about (date) ______________.

      3.    I understand that this litigation has been filed as a proposed collective action under the Fair Labor Standards Act
            of 1938, as amended, 29 U.S.C. §§ 201, et seq. I hereby consent, agree, and opt-in to become a Plaintiff herein
            and be bound by any judgment of the Court or any settlement of this action.

      4.    I specifically authorize my attorneys, Schneider Wallace Cottrell Konecky Wotkyns and Berger & Montague to
            prosecute this lawsuit on my behalf and to negotiate a settlement of any and all claims I have against the
            Defendant in this litigation.



                 
                                              (Date Signed)                                              (Signature)

                                                          **IMPORTANT NOTE**
            Statute of Limitations concerns mandate that you return this form as soon as possible to preserve your rights.
EXHIBIT 12
DocuSign Envelope ID: EDE27C0F-897E-4FF1-A85E-A30F4D931922


                                                     OPT-IN CONSENT FORM
                                    Robenson Jean-Pierre v. J&L Cable TV Services, Inc.
                                     United States District Court, District of Massachusetts

                                                      Complete And Submit To:

                                                      Carolyn Hunt Cottrell, Esq.
                                                     SCHNEIDER WALLACE
                                                     COTTRELL KONECKY
                                                         WOTKYNS LLP
                                                   2000 Powell Street, Suite 1400
                                                    Emeryville, California 94608

                                                                      OR

                                                   Sarah R. Schalman-Bergen
                                                BERGER & MONTAGUE, P.C.
                                                       1622 Locust Street
                                                Philadelphia, Pennsylvania 19103

              Name:                                                    Date of Birth:
              "&
                                                     (Please Print)

              Address:                                                 Phone No. 1:
                                                                       Phone No. 2:
                                                                       E-mail Address


                                       CONSENT TO JOIN COLLECTIVE ACTION
                              Pursuant to the Fair Labor Standards Act, 29 U.S.C. §§ 201, et seq.

      1.    I consent and agree to pursue my claims relating to and arising from Defendant (J&L Cable TV Services, Inc.)
            alleged violations of the Fair Labor Standards Act, 29 U.S.C. §§ 201, et seq. in connection with the above-
            referenced litigation.

      2.    I have worked as a/an (title) #                   for Defendant in (city, state) !#!
                                                                                                    $
                                                    from approximately on or about (date) _____________            to
                                              "  
            approximately on or about (date) ______________.

      3.    I understand that this litigation has been filed as a proposed collective action under the Fair Labor Standards Act
            of 1938, as amended, 29 U.S.C. §§ 201, et seq. I hereby consent, agree, and opt-in to become a Plaintiff herein
            and be bound by any judgment of the Court or any settlement of this action.

      4.    I specifically authorize my attorneys, Schneider Wallace Cottrell Konecky Wotkyns and Berger & Montague to
            prosecute this lawsuit on my behalf and to negotiate a settlement of any and all claims I have against the
            Defendant in this litigation.



                 
                                               (Date Signed)                                             (Signature)

                                                           **IMPORTANT NOTE**
            Statute of Limitations concerns mandate that you return this form as soon as possible to preserve your rights.
